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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ORLANDO O. RILEY,                   )
            Plaintiff               )
                                    )
v.                                  )
                                    )
MASSACHUSETTS DEPARTMENT            )                  Civil Action No.: 1:15-CV-14137-DJC
 OF STATE POLICE,                   )
            Defendant               )
____________________________________)

            PLAINTIFF’S MOTION TO ALTER OR AMEND THE JUDGMENT

       Plaintiff hereby moves pursuant to Fed. R. Civ. P. 59(e) to alter or amend the judgment

entered in this case on December 12, 2018 (Doc. 249)(the “Judgment”). Specifically, plaintiff

requests that this Court order that plaintiff be instated in the next available Recruit Training

Troop (“RTT”) Academy offered by defendant; impose prejudgment interest on the $130,000

damages award set forth in the Judgment; and impose statutory postjudgment interest running

from the date of the Judgment. Plaintiff has attached a proposed form of judgment as

“Attachment 1” hereto for the Court’s convenience. For his reasons, plaintiff states:

                                         INSTATEMENT

       1.      This Court has authority under Title VII to order appropriate equitable relief upon

a finding of intentional discrimination, 42 U.S.C. §2000e-5(g)(1), including the preferred remedy

of instatement into the position the plaintiff was discriminatorily denied. See, e.g., Darnell v.

Jasper, 730 F.2d 653, 655-56 (11th Cir. 1984); Geraty v. Vill. of Antioch, 2014 U.S. Dist. LEXIS

51695, at *9-12 (N.D. Ill. 2014); Cowan v. Unified Sch. Dist. 501, 2004 U.S. Dist. LEXIS 27814

(D. Kan. 2004).
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        2.      The remedial scheme in Title VII is designed to make a plaintiff whole through

the use of equitable remedies. Selgas v. Am. Airlines, Inc., 104 F.3d 9, 12 (1st Cir. 1997), citing

Albemarle Paper Co. v. Moody, 422 U.S. 405, 418 (1975). These remedies are intended to

“bring the plaintiff to the position which s/he would have occupied but for the illegal act(s).” Id.

        3.      Where plaintiff is denied entry into employment, the preferred remedy is

instatement. Selgas, at 12 (“[u]nder Title VII, the first choice is to reinstate the plaintiff at the

original employer; this accomplishes the dual goals of providing full coverage for the plaintiff

and of deterring such conduct by employers in the future”); Darnell, 730 F.2d at 655-56 (money

damages rarely make whole a person who was discriminatorily denied employment, whereas

“instatement goes a long way toward removing the ill effects” of such discrimination; in Title

VII non-hire case, ordering instatement as police officer where background investigation was

biased, assuming plaintiff passes test not yet taken). See also Valentin-Almeyda v. Municipality

of Aguadilla, 447 F. 3d 85, 105 (1st Cir. 2006)(reinstatement is preferred remedy; affirming

police officer’s reinstatement where termination was discriminatory and retaliatory); Geraty,

2014 U.S. Dist. LEXIS 51695, at *9-12 (instatement is preferred remedy; ordering instatement of

police officer into sergeant position in Title VII non-promotion case); Cowan, 2004 U.S. Dist.

LEXIS 27814, at *3 (instatement “should be ordered whenever possible”; ordering instatement

into next available position in Title VII non-hire case); Carr v. Fort Morgan Sch. Dist., 4 F.

Supp. 989, 996 (D. Colo. 1998)(relying on Title VII precedent in ADA non-hire case, instating

plaintiff into teaching position, which “disposition best facilitates the remedial purposes” of the

statute); O’Sullivan v. City of Chicago, 540 F. Supp. 2d 981, 984 (N.D. Ill. 2008)(reinstatement

is preferred remedy; ordering promotion of police officer in Title VII non-promotion case);

James v. Norton, 176 F. Supp. 2d 385, 388-92 (E.D. Pa. 2001)(district court must be guided by



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goals of “make-whole relief and deterrence” and ordering reinstatement meets these goals; courts

award promotions retroactively where plaintiffs were qualified but denied on discriminatory

basis; ordering public employer to retroactively promote Title VII plaintiff to higher-grade

position, even though will require creating new position); Legault v. aRusso¸ 842 F. Supp. 1479,

1491-92 (D.N.H. 1994).

       4.      Here, plaintiff has established his entitlement to the position sought in several

ways. First, there is no dispute that he completed all qualifying requirements for entry into the

80th RTT (medical exam, psychological exam, physical ability test, oral board interviews), other

than the discriminatory background investigation at issue in this case. Second, the jury found

that defendant denied plaintiff admission to the 80th RTT on account of his race or color (Doc.

245). Third, it is undisputed that if a candidate met all other qualifications—as plaintiff did— he

or she would have been admitted to the Academy.

       5.      None of the factors apply here that might preclude instatement in other

circumstances. See Che v. Mass. Bay Transp. Auth., 342 F.3d 31, 43 n.1, 44 (1st Cir.

2003)(listing factors; litigation-based antagonism between plaintiff and employer caused by

litigation not sufficient to deny reinstatement); Geraty, 2014 U.S. Dist. LEXIS 51695, at *10-11

(no evidence that instatement would cause working relationship “fraught with hostility and

friction”; if resentment related to plaintiff’s lawsuit were held to preclude instatement,

instatement would be the exception and not the rule as it is); O’Sullivan, 540 F. Supp. 2d at 983-

84 (same); Carr, 4 F. Supp. 2d at 995-96 (animosity between parties because of litigation, but no

evidence of “insurmountable hostility” that would prevent plaintiff from performing job duties).

       6.      The make-whole remedy here must, therefore, be admission to the RTT Academy.

See Geraty, 2014 U.S. Dist. LEXIS 51695, at *10 (by determining that reason for plaintiff’s non-



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promotion was discriminatory, jury found plaintiff was qualified for promotion). Further, should

plaintiff successfully complete and graduate from the Academy, any make-whole remedy must

insure that he be instated in the Massachusetts State Police with the compensation and seniority

commensurate with a trooper who had been employed by the MSP since graduation from the 80th

RTT in 2012.

                                  PRE-JUDGMENT INTEREST

       7.      Plaintiff is entitled to pre-judgment interest. Thurber v. Jack Reilly’s, Inc., 521 F.

Supp. 238, 243 (D. Mass. 1981). The Court should award pre-judgment interest in order to make

plaintiff—a discrimination victim—whole. See, e.g., Loeffler v. Frank, 486 U.S. 549, 557-58

(1988)(pre-judgment interest is “an element of complete compensation” in Title VII case)

(citations omitted); Torres v. Caribbean Forms Mfr., 286 F. Supp. 2d 209, 222 (D.P.R.

2003)(interest should be awarded on back pay so as not to punish plaintiff for delays of

litigation); Bridges v. Eastman Kodak Co., 1996 U.S. Dist. LEXIS 809, at *48-49 (S.D.N.Y. Jan.

26, 1996)(ordinarily is abuse of discretion not to award pre-judgment interest on backpay

award); Eldred v. Consolidated Freightways Corp., 907 F. Supp. 26, 28 (D. Mass. 1995)(pre-

judgment interest necessary to effectuate Title VII’s policy of fully compensating plaintiff);

Chang v. University of R.I., 606 F. Supp. 1161, 1274-75 (D.R.I. 1985)(those harmed by

employer’s discrimination should receive pre-judgment interest in order to further Title VII’s

remedial and restorative purpose).

       8.      Neither Title VII nor any applicable federal statute prescribes a pre-judgment

interest rate. Federal statute provides a rate for post-judgment interest but is silent as to pre-

judgment interest. See 28 U.S.C. §1961(a). Accordingly, the Court should look to state law for

guidance in determining the pre-judgment interest rate. Velez v. Puerto Rico Marine



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Management, Inc., 957 F.2d 933 (1st Cir. 1992)(“because the Act is silent as to pre-judgment

interest and the granting of pre-judgment interest falls under the equitable powers of the district

court, the court may look to state law in setting the pre-judgment interest rate”) following

Hansen v. Continental Ins. Co, 940 F.2d 971, 984 (5th Cir. 1991)(where a claim is governed by a

federal statute, and the statute is silent on the issue of pre-judgment interest, “state law is an

appropriate source of guidance”).

        9.      Here, the relevant Massachusetts state law is the pre-judgment interest rate statute

applicable to Title VII’s cognate state statute, Mass.Gen.Laws c. 151B: Mass.Gen.Laws c. 231,

§6B. See DeRoche v. Mass. Comm’n Against Discr., 447 Mass. 1, 14 (2006). Chapter. 231,

§6B sets a rate of 12% simple interest per annum from the date of commencement of the action.

That rate should be applied in this case. See Velez, 957 F.2d at 941 (in absence of federal statute

setting pre-judgment interest in ERISA case, trial court properly looked to Puerto Rico law to set

a 12% interest rate); Schuyler v. Schuyler Gen. Contractors, 1995 U.S. Dist. LEXIS 8513, at

*11-12 (D.N.H. April 21, 1995)(applying state pre-judgment interest rate in ERISA case) citing

Velez, supra. See also Hylind v. Xerox Corp., 749 F. Supp. 2d 340, 351 (D. Md. 2010), vacated

in part on other grounds, 481 Fed. Appx. 819 (4th Cir. 2012)(applying state pre-judgment

interest rate in Title VII case because state rate “reflects the lost time-value of money” in the

forum state); Kostic v. Texas A&M Univ. at Commerce, 2015 U.S. Dist. LEXIS 106467, at *4-5

(N.D. Tex. Aug. 13, 2015)(Title VII); Miller v. HSBC Fin. Corp., 2010 U.S. Dist. LEXIS 68342,

at *2-3 (D.S.C. July 9, 2010)(Title VII); Proffitt v. Veneman, 2002 U.S. Dist. LEXIS 21906, at

*9-11 (W.D. Va. Nov. 6, 2002)(Title VII). Accord, Umholtz v. Kansas Dep't of Social &

Rehabilitation Servs., 2013 U.S. Dist. LEXIS 153993, at *2-3 (D. Kan. Oct. 28,




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2013)(Rehabilitation Act case); Thom v. American Standard, Inc., 2009 U.S. Dist. LEXIS

29120, at *15 (N.D. Ohio Apr. 8, 2009)(FMLA).

       10.     Any award of interest should be compounded. The purpose of pre-judgment

interest is to compensate plaintiff for the loss of use of funds of which he was deprived. Pegues

v. Mississippi State Employment Service, 899 F.2d 1449 , 1453 (5th Cir. 1990). Interest serves

as a substitute for an increase in value that could have been realized through investment or other

beneficial uses. That increase in value necessarily includes any growth in value of prior

increases in value already earned, or “interest on interest.” Cooper v. Paychex, Inc., 960 F.

Supp. 966, 975 (E.D. Va. 1997), aff'd. 163 F.3d 598 (4th Cir. 1998)(table decision). Thus,

increases in the value of prior earned interest must be included in the award by compounding any

interest award. See Hylind, supra:

       In light of the “make-whole” purpose of Title VII, the Court will also compound the
       interest annually instead of awarding simple interest. But for Xerox's conduct, Hylind
       would have had access to this money during the back pay period and would have been
       able to earn interest not only on the principal amounts, hut also on accumulated interest.
       Compounding the interest reflects this economic reality and reasonably furthers the goal
       of placing Hylind in the position where she would otherwise have been.

749 F. Supp. 2d, at 351 citing Cooper, 960 F. Supp. at 975 (state prejudgment interest rate

applied in Title VII case and compounded: “common sense and the equities dictate an award of

compound interest”; compound interest award necessary to make plaintiff whole). See also

Saulpaugh v. Monroe Cmty. Hosp., 4 F.3d 134, 145 (2d Cir. 1993)(in Title VII case, plaintiff can

only be made whole by awarding compound interest; trial court abused its discretion by

awarding only simple interest, effectively giving defendant interest-free loan); Brown v.

Mountainview Cutters, LLC, 222 F. Supp. 3d 504, 511 (W.D. Va. 2016)(compound interest

awarded in Title VII case); EEOC v. A.C. Widenhouse, Inc., 2013 U.S. Dist. LEXIS 24351

(M.D.N.C. Feb. 22, 2013)(same). Cf. Nero v. Indus. Molding Corp., 167 F.3d 921, 925 n.2 (5th

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Cir. 1999)( compound interest awarded in FMLA case); EEOC v. Serv. Temps, Inc., 2010 U.S.

Dist. LEXIS 130191 (N.D. Tex. Dec. 9, 2010)(compound interest awarded in ADA case);

McDonald v. Pension Plan of the NYSA-ILA Pension Trust Fund, 2001 U.S. Dist. LEXIS

15534, *12-*13 (compound interest awarded on damages award in ERISA case).

       11.     Interest should be paid on plaintiff’s emotional distress damages as well as his

backpay damages. Trainor v. HEI Hospitality LLC¸ 2012 U.S. Dist. LEXIS 4558, at *23, n. 4

(D. Mass. Jan. 13, 2012), aff’d in part and vacated in part on other grounds, 699 F.3d 19 (1st Cir.

2012). See also Thomas v. Texas Dep't of Criminal Justice, 297 F.3d 361, 372 (5th Cir.

2002)(affirming trial court's award of prejudgment interest on emotional distress award);

Robinson v. Instructional Sys., 80 F. Supp. 2d 203, 207-208 (S.D.N.Y. 2000)(awarding

prejudgment interest on back pay and emotional distress award in Title VII case due to need to

make plaintiff whole), relying on Worthington v. City of New Haven, 1999 U.S. Dist. LEXIS

16104 (D.Conn. 1999) and Perdue v. City University of New York, 13 F. Supp. 2d 326, 342

(E.D.N.Y. 1998).

                                POST-JUDGMENT INTEREST

       12.     Plaintiff is entitled to post-judgment interest, calculated from the date of entry of

the Judgment. 28 U.S.C. § 1961(a); Foley v. Lowell, 948 F.2d 10, 22 (1st Cir. 1991)(and cases

cited)(post-judgment interest is “obligatory”).

                                         CONCLUSION

       WHEREFOR, plaintiff respectfully requests that the Court alter or amend the Judgment




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to order instatement and the imposition of pre- and post-judgment interest.


                                               Respectfully submitted,

                                               PLAINTIFF
                                               Orlando Riley

                                               By his attorneys,



                                               /s/ Ellen J. Messing
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                                               Messing, Rudavsky & Weliky, P.C.
                                               50 Congress St., 1000
                                               Boston, MA 02109
Dated: January 9, 2019                         (617) 742-0004


                      CERTIFICATION PURSUANT TO LOCAL R. 7.1

        I, James S. Weliky, attorney for plaintiff, do hereby certify that I conferred with counsel
for defendant regarding the within motion by e-mail on January 9, 2019. The parties were
unable to resolve their differences.


                                               /s/James S. Weliky__________________________
                                               James S. Weliky, Esq.

Dated: January 9, 2019

                                 CERTIFICATE OF SERVICE

        I, James S. Weliky, hereby certify that this document, filed through the ECF system, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants, on January
9, 2019.

                                               /s/ James S. Weliky    ________________________
                                               James S. Weliky
Dated: January 9, 2019

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       ATTACHMENT 1

FORM OF JUDGMENT




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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ORLANDO O. RILEY,                   )
            Plaintiff               )                       Civil Action No.: 1:15-CV-14137-DJC
                                    )
v.                                  )
                                    )
MASSACHUSETTS DEPARTMENT            )
 OF STATE POLICE,                   )
            Defendant               )
____________________________________)

                                        AMENDED JUDGMENT

        After trial, and after decision on Plaintiff Orlando Riley’s Motion to Alter or Amend the

Judgment, it is hereby ordered and adjudged that:

        1.       Judgment shall enter for the plaintiff on his complaint for discrimination in the

amount of $79,000.00 in back pay, and $51,000.00 in emotional distress.

        2.       Judgment shall enter instating plaintiff into the next available Massachusetts State

Police Recruit Training Troop Academy on the same terms and conditions as all other enrollees,

and upon successful completion and graduation, instatement as a Trooper First Class, at the rate

and with the benefits and seniority he would have accrued by his instatement date as a trooper

had he successfully completed the 80th RTT.1

                                                   ORDER

        Defendant is to pay plaintiff damages in the amount of $130,000.00. Prejudgment

interest is to be paid on the damages awarded from December 14, 2015 to the date of Final




1
 Per this Court’s December 17, 2018 order (Doc. 251), this Form of Judgment does not include an award of
attorneys’ fees and costs, which will be decided by separate motion and briefing subsequently.

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Judgment at the interest rate of 12% compounded annually in the amount of $56,366.51.2

Statutory post-judgment interest is to be paid on the entire judgment from December 12, 2018 to

the date of payment at the interest rate of ___% per annum.

                                            By the Court,




                                            __________________________________________
                                            Denise J. Casper
                                            Judge, U.S. District Court, District of Massachusetts

Date:




2
 Assuming a February 13, 2019 entry of judgment, interest at an interest rate of 12% per annum is calculated from
December 14, 2015 for 3.17 years. Plaintiff earned $15,600 interest for the 12 months from December 14, 2015 to
December 13, 2016; $17,472 compound interest from December 14, 2016 to December 13, 2017; $19,568.64
compound interest from December 14, 2017 to December 13, 2018; and $3,725.87 simple interest from December
14, 2018 to February 13, 2019, for a total of $56,366.51.

                                                        11
